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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                        Case No. 12-cr-33-03-PB

Wendy Ford

                                 O R D E R


     The defendant has moved to continue the trial in the above

case, citing the need for additional time to complete discovery

and prepare for trial.       The co-defendants in this case are

scheduled for trial on August 21, 2012 and Ms. Ford requests a

continuance to the same trial date.         The government and co-

defendants do not object to a continuance.

     Accordingly, for the above reason and in order to allow the

parties additional time to properly prepare for trial, the court

will continue the trial from June 5, 2012 to August 21, 2012.

In agreeing to continue the trial, the court finds pursuant to

18 U.S.C.A. ' 3161(h)(7)(A) that for the above-stated reasons,

the ends of justice served in granting a continuance outweigh

the best interests of the public and the defendants in a speedy

trial.
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      The May 23, 2012 final pretrial conference is continued to

July 31, 2012 at 3:30 p.m.

      SO ORDERED.

                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 9, 2012

cc:   Theodore M. Lothstein, Esq.
      Jennifer Davis, Esq.
      Charles J. Keefe, Esq.
      Paul Garrity, Esq.
      Behzad Mirhashern, Esq.
      United States Marshal
      United States Probation




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